  Case 19-18467       Doc 38      Filed 11/21/19 Entered 11/21/19 17:25:24            Desc Main
                                    Document     Page 1 of 2


                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In re:                                      )    No. 19-18467
                                             )
 AMERICAN PAIN SOCIETY,                      )    Chapter 7
                                             )
                        Debtor.              )    Honorable Deborah Thorne
                                             )
                                             )    Final Hearing : December 17, 2019
                                             )    Hearing Time: 10:30 a.m.
                                             )    Room No.:       613


                 NOTICE OF AUCTION SALE, BIDDING PROCEDURES
                           AND FINAL SALE HEARING

TO ALL CREDITORS AND OTHER PARTIES IN INTEREST

PLEASE TAKE NOTICE:

        On June 28, 2019 (the “Petition Date”), American Pain Society (“Debtor”) filed a voluntary
petition for relief under chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”)
in the U.S. Bankruptcy Court for the Northern District of Illinois, Eastern Division (the
“Bankruptcy Court”). Michael K. Desmond (“Trustee”) was appointed as the chapter 7 trustee of
the Estate on the Petition Date.

       1.       Sale Motion: On November 7, 2019, the Trustee presented a motion for the entry
of an Order (i) approving Bid Procedures for the sale of the Estate’s right title and interest in The
Journal of Pain, (“Purchased Assets”); (ii) scheduling an Auction Sale; (iii) approving the form
and manner of the Sale Notice; and (iv) scheduling a final hearing (“Final Hearing”) to consider
approval of the Auction Sale and entry of an order (“Sale Order”) approving the sale of the
Purchased Assets to the Successful Bidder; and (v) granting related relief.

        2.     Sale of Assets. The Trustee shall offer for sale the Estate’s right title and interest
in The Journal of Pain, and any associated copyright and trademark rights held by the Estate, free
and clear of any existing liens, claims or encumbrances to the extent provided for in section 363
of the Bankruptcy Code. Information regarding the Purchased Assets may be obtained from the
Trustee’s counsel at Figliulo & Silverman, P.C., 10 S. LaSalle St., Suite 3600, Chicago, IL 60603,
Michael K. Desmond (312) 251-5287, mdesmond@fslegal.com or Justin M. Herzog (312) 251-
5278, jherzog@fslegal.com.
       3.      Bidding Procedures Order: On November 7, 2019, the Bankruptcy Court entered
the Bidding Procedures Order and set (i) December 9, 2019 (the “Bid Deadline”) as the deadline
to submit offers; (ii) December 12, 2019 at 11:00 a.m. as the date of the Auction (the “Auction
  Case 19-18467       Doc 38     Filed 11/21/19 Entered 11/21/19 17:25:24             Desc Main
                                   Document     Page 2 of 2


Date”); and (iii) December 17, 2019 at 10:30 a.m. as the date of the Final Hearing before the
Honorable Deborah Thorne, United States Bankruptcy Judge, in the United States Bankruptcy
Court for the Northern District of Illinois, 219 South Dearborn Street, Courtroom 613, Chicago,
Illinois 60604. [Docket No. 36]. Copies of the Sale Motion (including the form purchase
agreement) and the Bidding Procedures Order can be obtained by: (1) accessing the Court’s
electronic docket for this case via its PACER website at https://ecf.ilnb.uscourts.gov/cgi-
bin/login.pl; (2) visiting the Office of the Clerk of the United States Bankruptcy Court for the
Northern District of Illinois, Eastern Division at 219 S. Dearborn Street, Chicago, Illinois 60604;
or (3) contacting the Trustee’s counsel at Figliulo & Silverman, P.C., 10 S. LaSalle St., Suite 3600,
Chicago, IL 60603, Michael K. Desmond (312) 251-5287, mdesmond@fslegal.com or Justin M.
Herzog (312) 251-5278, jherzog@fslegal.com.

       4.      Submission of Offers: All potential buyers desiring to bid at the Auction shall be
required to comply with the terms of the Bidding Procedures attached to the Bid Procedures Order
as Exhibit 1. Among other things, (i) all bids must be in the form of the purchase agreement
attached as Exhibit 1 to the Bidding Procedures; (ii) all bids must be received by the Bid Deadline
as provided for in the Bidding Procedures; and (iii) potential bidders must demonstrate to the
Debtors the financial ability to close the proposed transaction.

        5.     Auction: As set forth in the Bid Procedures Order, the auction shall take place on
December 12, 2019 at 11:00 a.m. at the offices of the Debtors’ counsel, Figliulo & Silverman,
P.C., 10 S. LaSalle St., Suite 3600, Chicago, IL 60603.

November 7, 2019


                                              MICHAEL K. DESMOND, not individually but
                                              solely in his capacity as Chapter 7 Trustee for
                                              the bankruptcy estate of AMERICAN PAIN
                                              SOCIETY,

                                              By:     /s/ Michael K. Desmond____
                                                      One of his Attorneys


Michael K. Desmond (#6208809)
Justin M. Herzog (#6324047)
FIGLIULO & SILVERMAN, P.C.
10 S. LaSalle Street, Suite 3600
Chicago, Illinois 60603
Tel: (312) 251-4600
Fax: (312) 251-4610




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